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                                                                                 September 18, 2020
Via ECF
Honorable Mary Kay Vyskocil
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 2230
New York, NY 10007

               Re:       Clarkson Recovery Corp. v. Ryzinski & Macniak, 20 Civ. 4336 (MKV)

Dear Judge Vyskocil:

       Pursuant to the Court’s Order dated September 14, 2020 (Dkt. 17) (the “September 14
Order”), Plaintiff-Counterclaim Defendant Clarkson Recovery Corp. (“Plaintiff” or “Clarkson”)
and Defendants-Counterclaim Plaintiffs Bolek Ryzinski and Lukas Macniak (collectively,
“Defendants”) submit this joint letter to advise the Court regarding the parties’ intention to file
amended pleadings and to provide the Court with a proposed revised Case Management Plan.

        In accordance with the September 14 Order, Defendants intend to file an amended
counterclaim by September 25, 2020. Plaintiff does not intend to file an amended complaint. As
a result, the parties propose the following briefing schedule for the parties’ contemplated
motions1:

               •     Plaintiff shall file its motions for judgment on the pleadings and to dismiss
                     Defendants’ counterclaim by October 16, 2020;

               •     Within 30 days of Plaintiff’s filing, Defendants shall file their opposition to
                     Plaintiff’s motions and any cross-motion (to avoid ambiguity, if this deadline
                     falls on a weekend, Defendants would have the benefit of the usual extension
                     to the next business day);

               •     Plaintiff shall file its reply in support of its motions and its opposition to any
                     cross-motion by November 30, 2020; and

               •     Defendants shall file their reply on any cross-motion on December 7, 2020.

       In addition, submitted herewith is the parties’ proposed revised Case Management Plan.




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 The parties have attempted to create a schedule that is consistent with the briefing schedule set
out in the September 14 Order, but which accounts for scheduling concerns posed by the
Thanksgiving holiday.
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       We thank the Court for its attention to these matters.


Respectfully submitted,



 Attorneys for Plaintiff                          Attorneys for Defendants
 Clarkson Recovery Corp.                          Boleslav Ryzinski and Lukas Macniak

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